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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

  UNITED STATES OF AMERICA

  VS.                                                                     CASE NO: 6:24-cr-74-JSS-EJK

  JEREMY CHARLES DEWITTE


                           ORDER OF DETENTION PENDING TRIAL

                                                       FINDINGS

           In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), an initial appearance has been

  held. The following facts and circumstances require the defendant to be detained pending trial.

           The defendant makes no application for release at this time. A motion for conditions
           of release and a detention hearing may be filed at a later date.

           This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.

  § 3142(g) as stated on the record in open court.

                                          DIRECTIONS REGARDING DETENTION

           Jeremy Charles Dewitte is committed to the custody of the Attorney General or his designated representative
  for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
  or being held in custody pending appeal. Jeremy Charles Dewitte shall be afforded a reasonable opportunity for private
  consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
  government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
  the purpose of an appearance in connection with a Court proceeding.


  Date: August 26, 2024


                                                                          EMBRY J. KIDD
                                                                 UNITED STATES MAGISTRATE JUDGE
